UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

UNITED STATES OF AMERICA

 

-vs- Case N0. l:05cr10023~0()]T

MICHAEL PAUL SWAIl\/l

 

ORDER APPOINTlNG COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofeounsel. Aocordingly,
the Coul't makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Public Det`ender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

DONE and ORDERED in ll l South Highland, Jacl<son, TN, this 26"` day ofAugust, 2005.

gri @__,

S, THOl\/IAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies f"urnished to:

United States Attorney

United States Marshal

Pretrial Services Ol`f`ice

Assistant Federal Publio Det`ender
intake

MICH`AEL PAUL SWAll\/l

This document entered on the dockets rlgoo pllance
with Hule 55 and/or 32(b) FRCrP on 0

   

UNITED STATESDISTRIC COURT - WESRTEN DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10023 Was distributed by faX, rnail, or direct printing on
August 30, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

